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 4
                                   UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 6

 7      NATHEN DWAYNE BAKER,
                                                                 CASE NO. 2:21-cv-00491-RSL-JRC
 8                                Petitioner,
                                                                 ORDER ADOPTING REPORT
 9                v.                                             AND RECOMMENDATION

10      KING COUNTY,

11                                Respondent.

12

13          The Court, having reviewed the report and recommendation of Magistrate Judge J.

14   Richard Creatura, objections to the report and recommendation, if any, and the remaining record,

15   does hereby find and ORDER:

16          (1)        The Court adopts the report and recommendation.

17          (2)        Petitioner’s federal habeas petition (Dkt. 16) is dismissed without prejudice.

18          (3)        A certificate of appealability is denied in this case.

19          (4)        The Clerk is directed to close this case and send copies of this order to petitioner,
                       counsel for respondent, and to the Hon. J. Richard Creatura.
20

21          DATED this 19th day of October, 2021.

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23
                                                      A
                                                      Robert S. Lasnik
                                                      United States District Judge
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     ORDER ADOPTING REPORT AND
     RECOMMENDATION - 1
